 8:05-cr-00026-LSC-TDT          Doc # 85      Filed: 07/15/05     Page 1 of 6 - Page ID # 178


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:05CR26

                                                     USM Number 20736-047

ISIDRO MARINO-VISOSO
                 Defendant
                                                     Carlos A. Monzon

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Information on April 13, 2005.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offense:

                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded                Number


                                                        December 17, 2004     Is
 18:4 WITHHOLDING INFORMATION ON A
 CRIME

The Defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

On Motion of the Government the Indictment is dismiss as to this Defendant only.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                    July 11, 2005

                                                                      s/Laurie Smith Camp
                                                                      United States District Judge

                                                                             July 15, 2005
 8:05-cr-00026-LSC-TDT              Doc # 85   Filed: 07/15/05   Page 2 of 6 - Page ID # 179


Defendant: ISIDRO MARINO-VISOSO                                                           Page 2 of 6
Case Number: 8:05CR26


                                         IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 12 months and 1 day.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the Defendant be incarcerated in a federal facility as close to Phoenix, Arizona as
        possible.

2.      Defendant shall be given credit for time served.

The Defendant is remanded to the custody of the United States Marshal.

                                  ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                               RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt, above.

                                           CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______


                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________
 8:05-cr-00026-LSC-TDT            Doc # 85    Filed: 07/15/05      Page 3 of 6 - Page ID # 180


Defendant: ISIDRO MARINO-VISOSO                                                              Page 3 of 6
Case Number: 8:05CR26


                                    SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 1
year.

The Defendant shall report to the probation office in the district to which the Defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The Defendant shall not unlawfully possess a controlled substance. The Defendant shall refrain
from any unlawful use of a controlled substance. The Defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the Court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
Defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The Defendant must comply with standard conditions that have been adopted by this Court as well
as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The Defendant shall not leave the judicial district without the permission of the Court or
        probation officer;
2.      The Defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The Defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The Defendant shall support his or her dependents and meet other family responsibilities;
5.      The Defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The Defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The Defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The Defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The Defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The Defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The Defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the Court;
 8:05-cr-00026-LSC-TDT             Doc # 85        Filed: 07/15/05        Page 4 of 6 - Page ID # 181


Defendant: ISIDRO MARINO-VISOSO                                                                       Page 4 of 6
Case Number: 8:05CR26


13.     As directed by the probation officer, the Defendant shall notify third parties of risks that may
        be occasioned by the Defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the Defendant’s
        compliance with such notification requirement.


                              SPECIAL CONDITIONS OF SUPERVISION


1.      The Defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
        from excessive use of alcohol, the Defendant shall not purchase or possess, use, distribute, or
        administer any alcohol, just the same as any other narcotic or controlled substance.

3.      The Defendant shall be subject to the search of the Defendant’s premises, vehicle or person, day or
        night, with or without a warrant, at the request of the probation officer to determine the presence of
        alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
        be seized by the probation officer. This condition may be invoked with or without the cooperation of
        law enforcement officers.

4.      The Defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
        or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
        substance abuse, as directed by the probation officer.

5.      The Defendant shall comply with all rules and regulations of the Bureau of Immigration Customs
        Enforcement and, if deported, shall not reenter the United States or reside therein without the
        express, written permission of the Secretary of the United States Department of Homeland Security.

6.      The Defendant shall provide the probation officer with access to any requested financial information.

7.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of release on
        supervised release and to at least two (2) periodic drug tests thereafter, is suspended until further
        order of the Court because it appears the Defendant will be deported.

8.      The Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
        Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement or return to the
        United States and, thereafter, as directed by the probation officer.
 8:05-cr-00026-LSC-TDT              Doc # 85    Filed: 07/15/05   Page 5 of 6 - Page ID # 182


Defendant: ISIDRO MARINO-VISOSO                                                          Page 5 of 6
Case Number: 8:05CR26


                                  CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine               Total Restitution

             $100.00



The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that:

        interest requirement is waived.



                                                 FINE

        No fine imposed.

                                          RESTITUTION

        No restitution was ordered.
 8:05-cr-00026-LSC-TDT              Doc # 85       Filed: 07/15/05    Page 6 of 6 - Page ID # 183


Defendant: ISIDRO MARINO-VISOSO                                                                  Page 6 of 6
Case Number: 8:05CR26


                                     SCHEDULE OF PAYMENTS

Having assessed the Defendant’s ability to pay, the Court orders that payment of the total criminal
monetary penalties shall be due as follows:


        The Defendant shall pay the special assessment in the amount of $100.

Unless the Court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
Court, unless otherwise directed by the Court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the Court. In the event a Defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and Court costs.



CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
